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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF NEW YORK


 MOMODOU TAAL, MŨKOMA WA NGŨGĨ,
 and SRIRAM PARASURAMA,
                           Plaintiffs,
                                                      NOTICE OF MOTION
        v.
                                                                        3:25-cv-335 (ECC/ML)
                                                      Civil Action No. __________

 DONALD J. TRUMP, in his official capacity as
 President of the United States; U.S.
 DEPARTMENT OF HOMELAND SECURITY;
 and KRISTI NOEM, in her official capacity as
 Secretary of the U.S. Department of Homeland
 Security;


                           Defendants.


       PLEASE TAKE NOTICE that, upon the Complaint and the exhibits attached thereto, the

accompanying memorandum of law, and all other pleadings and proceedings in this action,

Plaintiffs, by and through undersigned counsel, will move that this court enjoin Defendants Donald

Trump, the Department of Homeland Security (“DHS”), and DHS Secretary Kristi Noem from

enforcing two executive orders – Exec. Order No. 14161, “Protecting the United States from

Foreign Terrorists and Other National Security and Public Safety Threats,” 90 Fed. Reg. 8847

(Jan. 30, 2025), (“EO 1”), and Exec. Order No. 14188, “Additional Measures to Combat Anti-

Semitism,” 90 Fed. Reg. 8451 (Feb. 3, 2025), (“EO 2”), at least in part, and requesting any other

relief that the Court deems just and proper.


 Dated: March 15, 2025                           Respectfully submitted,

 s/ Eric Lee                                     s/ Chris Godshall-Bennett
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 Attorney for Plaintiffs                         Attorney for Plaintiffs
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